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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WHEATON COLLEGE,                                    )
                                                    )
                      Plaintiff,                    )
                                                    )       Case No. 13-cv-8910
       v.                                           )
                                                    )       Judge Robert M. Dow, Jr.
ALEX AZAR, Secretary,                               )
UNITED STATES DEPARTMENT OF                         )
HEALTH and HUMAN SERVICES, et al.,                  )
                                                    )
                      Defendants.                   )

  ORDER GRANTING PERMANENT INJUNCTION AND DECLARATORY RELIEF

       For the reasons stated below, Plaintiff Wheaton College’s (“Wheaton”) motion for

permanent injunction [116] is granted.

                                          STATEMENT

       By way of background, this case has been pending for more than three years during

which time the legal and regulatory landscape concerning the application of the Religious

Freedom and Restoration Act (“RFRA”) to the “contraceptive mandate” imposed under the

Affordable Care Act has evolved.         At the time that Wheaton’s request for a preliminary

injunction first came before the Court [see 58], the Seventh Circuit’s controlling decision in

University of Notre Dame v. Sebelius, 743 F.3d 547 (7th Cir. 2014), mandated a decision in favor

of Defendants. As the Court observed in its opinion denying Wheaton’s motion, in Notre Dame,

“Judge Flaum filed a well-reasoned dissenting opinion explaining why he would have granted a

preliminary injunction forbidding the government from penalizing the university for refusing to

comply with the self-certification requirement” imposed under the ACA’s implementing

regulations. [See 62, at 9 n.3 (citing Notre Dame, 743 F.3d at 562 (Flaum, J., dissenting)).] Yet,
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the Court further acknowledged that it was “duty-bound to apply” the decision of the panel

majority [see id.], while inviting any party to “file a motion for reconsideration of this order”

should any decision of the Supreme Court “call into question any material aspect of the Seventh

Circuit’s controlling decision” in Notre Dame [see id. at 2]. On appeal of this Court’s ruling, the

Seventh Circuit affirmed. Wheaton College v. Burwell, 791 F.3d 792 (7th Cir. 2015). This case

was then stayed pending the Supreme Court’s consideration of Zubik v. Burwell, 136 S. Ct. 1557

(2016).

          In the intervening years, the law has changed along the lines suggested by Judge Flaum.

Following oral argument in Zubik, the Supreme Court vacated the decisions of several circuits

and remanded the cases so that the parties could be “afforded an opportunity to arrive at an

approach going forward” that both “accommodates [the religious employers’] religious exercise”

and ensures that “women covered by [their] health plans ‘receive full and equal health coverage,

including contraceptive coverage.’” 136 S. Ct. at 1560. After reconsideration of their position,

Defendants now agree that enforcement of the currently operative rules regarding the

“contraceptive mandate” against employers with sincerely held religious objections would

violate RFRA, and thus do not oppose Wheaton’s renewed motion for injunctive and declaratory

relief. Defendants have simply requested certain limitations [see 117, at 2] on the scope of the

relief requested by Wheaton, to which Wheaton has no objection [see 118, at 1].              After

considering the parties’ briefs submitted on the motion for a permanent injunction, including

Defendants’ concessions on the merits of Wheaton’s claims, the Court agrees that Wheaton is

entitled to a permanent injunction.

          In particular, the Court concludes that the Wheaton has met the standards necessary for

injunctive relief:


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        ●      Wheaton has demonstrated, and Defendants now concede, that
        enforcement of the contraceptive mandate against Wheaton would violate
        Wheaton’s rights under the Religious Freedom Restoration Act (RFRA), 42
        U.S.C. § 2000bb;

        ●       Wheaton will suffer irreparable harm to its ability to practice its religious
        beliefs, harm that is the direct result of Defendants’ conduct, unless Defendants
        are enjoined from further interfering with Wheaton’s practice of its religion;

        ●       The threatened injury to Wheaton outweighs any injury to Defendants
        resulting from this injunction; and

        ●       The public interest in the vindication of religious freedom favors the entry
        of an injunction.

        The Court therefore orders that Defendants, their agents, officers, and employees are

enjoined and restrained from any effort to apply or enforce the substantive requirements imposed

in 42 U.S.C. § 300gg-13(a)(4) as those requirements relate to provision of contraceptive

coverage services which violate Wheaton College’s conscience, and are enjoined and restrained

from pursuing, charging, or assessing penalties, fines, assessments, or any other enforcement

actions for noncompliance related thereto, including those found in 26 U.S.C. §§ 4980D, 4980H,

and 29 U.S.C. §§ 1132, 1185d and including, but not limited to, penalties for failure to offer or

facilitate access to religiously-objectionable contraceptives, procedures, and related education

and counseling, against Wheaton College and its insurers and third-party administrators, as their

conduct relates to Wheaton College’s health plans.




Date: February 22, 2018
                                                      Robert M. Dow, Jr.
                                                      United States District Judge




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